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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01602-RM-MJW

  JOSE TREJO;
  MARISOL TREJO;
  OBDULIA JULIE CORTES;
  VILMA DE JESUS ALVARENGA CARRANZA; and those similarly situated,

  Plaintiffs,

  v.

  XCLUSIVE STAFFING, INC.;
  XCLUSIVE MANAGEMENT, LLC D.B.A XCLUSIVE STAFFING;
  XCLUSIVE STAFFING OF COLORADO, LLC;
  DIANE ASTLEY; and
  WESTIN DIA OPERATOR, LLC,

  Defendants.

                   REPORT AND RECOMMENDATION ON
  DEFENDANTS’ MOTION PURSUANT TO FED. R. CIV. P. 12(b)(1) AND 12(b)(6) FOR
     PARTIAL DISMISSAL OF PLAINTIFFS’ CLASS AND COLLECTIVE ACTION
                      COMPLAINT (DOCKET NO. 20)


  Michael J. Watanabe
  United States Magistrate Judge

          This matter is before the Court on Defendants Xclusive Staffing, Inc., Xclusive

  Management, LLC d/b/a Xclusive Staffing, Xclusive Staffing of Colorado, LLC

  (collectively “Xclusive”), Diane Astley, and Westin DIA Operator, LLC’s (“Westin”)

  (collectively “Defendants”) Motion Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) for

  Partial Dismissal of Plaintiffs’ Class and Collective Action Complaint. (Docket No. 20.)

  Judge Raymond P. Moore referred the subject motion to the undersigned Magistrate

  Judge. (Docket No. 21.) The Court has reviewed the subject motion (Docket No. 20),

  Plaintiffs Jose Trejo, Marisol Trejo, Obdulla Jule Cortes, and Vilma De Jesus Alvarenga
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  Carranza’s (collectively, “Plaintiffs”) Response (Docket No. 25), and Defendants’ Reply.

  (Docket No. 31.) The Court has taken judicial notice of the Court’s file, and considered

  the applicable Federal Rules of Civil Procedure and case law. The Court now being fully

  informed makes the following findings of fact, conclusions of law, and recommendation.

                                     I. BACKGROUND

        Xclusive is a staffing agency owned by Defendant Astley. Westin operates a

  hotel and is an Xclusive client. Plaintiffs are current and former Xclusive employees.

        Plaintiffs brought suit against Defendants for unpaid wages under state and

  federal law related Xclusive’s policies of (1) deducting $3.00 from each paycheck as an

  “administrative charge”; (2) deducting 30 minutes from their employees’ time sheets

  regardless of whether they actually took the 30 minute break; (3) failing to provide

  compensated ten minute breaks for every four hours worked, as is required by

  Colorado law; and (4) paying two checks for a single workweek for hours that exceed

  40, to avoid paying overtime. See Complaint (Docket No. 1 ¶¶ 94-122). Plaintiffs also

  allege Astley and Xclusive violated the Racketeer Influenced and Corrupt Organizations

  Act (“RICO”) through various schemes, discussed in detail below. (Id. ¶¶ 125-68.)

        On September 6, 2017, this case was consolidated for the purposes of pretrial

  discovery with Valverde v. Xclusive Staffing, Inc., 16-cv-00671-RM-MJW (D. Colo.)

  (“Valverde”), because the actions involved common questions of law and fact. One day

  before the consolidation, the Court dismissed several claims asserted by the Valverde

  plaintiffs. See Valverde at Docket No. 193. The Court dismissed the Valverde plaintiffs’

  RICO claims because they were precluded by the Fair Labor Standards Act (“FLSA”).



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  Id. at 9–11. The Court also dismissed claims asserted on behalf of putative class

  members under the laws of states where the plaintiffs did not work for lack of standing.

  Id. at 22. Finally, the Court dismissed the plaintiffs’ promissory estoppel claims, and

  dismissed their breach of contract, breach of implied contract, and unjust enrichment

  claims to the extent those claims were based on alleged unpaid overtime. Id. at 23.

         Defendants argue that Plaintiffs’ equivalent claims in the case at bar should

  likewise be dismissed. First, they contend that Plaintiffs’ first and second causes of

  actions under RICO fail to state a claim for relief. Next, that Plaintiffs’ fourth, fifth, and

  eighth causes of action under the laws of states other than Colorado should be

  dismissed because Plaintiffs lack standing to assert those claims on behalf of

  themselves or any proposed Rule 23 class. Third, Defendants maintain that Plaintiffs’

  promissory estoppel claims should be dismissed because Plaintiffs failed to allege

  detrimental reliance on any promise, and their contract and implied contract claims

  should be dismissed to the extent they are based on alleged unpaid overtime. Finally,

  Defendants argue that the Court should completely dismiss Plaintiffs’ unjust enrichment

  claims, not merely limit them to the extent they are based are unpaid overtime, and that

  Plaintiffs’ claims for “illegal deductions” under Colorado law fail to state a plausible

  claim for relief.

                                     II. LEGAL STANDARD

         In Valverde, Judge Moore set forth the relevant standards to consider when

  reviewing a motion to dismiss:

                 1. Fed. R. Civ. P. 12(b)(1)



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             Motions to dismiss under Rule 12(b)(1) are, generally, either
             a facial attack on the complaint’s allegations as to the
             existence of subject matter jurisdiction or a factual attack
             which goes beyond the allegations and challenges the facts
             on which subject matter jurisdiction is based. Stuart v. Colo.
             Interstate Gas Co., 271 F.3d 1221, 1225 (10th Cir. 2001). A
             facial attack challenging the sufficiency of the complaint
             requires the court to accept the allegations of the complaint
             as true. Stuart, 271 F.3d at 1225; Holt v. United States, 46
             F.3d 1000, 1002 (10th Cir. 1995) (internal citation om itted).

             2. Fed. R. Civ. P. 12(b)(6)

             In evaluating a motion to dismiss under Rule 12(b)(6), a
             court must accept as true all well-pleaded factual allegations
             in the complaint, view those allegations in the light most
             favorable to the plaintiff, and draw all reasonable inferences
             in the plaintiff’s favor. Brokers’ Choice of America, Inc. v.
             NBC Universal, Inc., 757 F.3d 1125, 1135–36 (10th Cir.
             2014); Mink v. Knox, 613 F.3d 995, 1000 (10th Cir. 2010).
             Conclusory allegations are insufficient. Cory v. Allstate Ins.,
             583 F.3d 1240, 1244 (10th Cir. 2009). Instead, in the
             complaint, the plaintiff must allege a “plausible” entitlement
             to relief. Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
             555–556 (2007). A complaint warrants dismissal if it fails “in
             toto to render plaintiffs’ entitlement to relief plausible.”
             Twombly, 550 U.S. at 569 n.14 (italics in original). “In
             determining the plausibility of a claim, we look to the
             elements of the particular cause of action, keeping in mind
             that the Rule 12(b)(6) standard does not require a plaintiff to
             set forth a prima facie case for each element.” Safe Street
             Alliance v. Hickenlooper, 859 F.3d 865, 878 (10th Cir. 2017)
             (citation, internal quotation marks, and alteration omitted).
             The “‘burden[, however,] is on the moving party to prove that
             no legally cognizable claim for relief exists.’” Hall v. Oliver,
             Civil Action No. 15-cv-01949-RBJ-MJW, 2017 WL 1437290,
             at *4 n.1 (citing 5B Charles Alan Wright & Arthur R. Miller,
             Federal Practice & Procedure § 1357 (3d ed.)).

             3. This Court’s Civil Practice Standards

             As relevant to the parties’ arguments, and in keeping with
             the standards under Rule 12(b)(6), pursuant to Section
             IV.M.2.c of Judge Raymond P. Moore’s Civil Practice


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                Standards (“Standards”), with respect to motions brought
                pursuant to Rule 12(b)(6): “For each claim for relief that the
                movant seeks to have dismissed, the movant shall clearly
                enumerate each element that movant contends must be
                alleged, but was not.” In response, the respondent must
                identify those elements which he/she disputes and identify
                where in the complaint he/she contends contains proper and
                sufficient factual allegations are contained. Standards at
                Section IV.M.2.c.

  Valverde, Docket No. 193, at 6-8.

                                        III. ANALYSIS

         a. RICO

         Defendants seek dismissal of Plaintiff’s RICO claim for three reasons. First, they

  argue such claims are precluded by the FLSA, as determined in Valverde. Second, they

  claim that Plaintiffs lack standing bring to a RICO cause of action. Finally, they assert

  that the allegations in the Complaint are insufficient to state bona fide RICO claims.

                1. Preclusion

         As an initial matter, for the reasons set forth by Judge Moore in Valverde, to the

  extent that Plaintiffs’ RICO claims stem from alleged violations of the FLSA, the claims

  are precluded and should be dismissed. However, Plaintiffs argue that the FLSA does

  not preclude their RICO claims to the extent they seek damages that are not owed

  under the FLSA, including damages under state wage-and-hour law. The Court deemed

  this argument waived in Valverde because the plaintiffs had failed to raise it before the

  undersigned Magistrate Judge. Valverde, Docket No. 193, at 3. Plaintiffs maintain that

  they “do not waive that argument here.”




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         As Judge Moore recognized, Plaintiffs’ claims based on violations of state law,

  e.g., the failure to pay them “straight time,” do not fall within the scope of the FLSA. See

  id. at 20 (citing Eagle v. Freeport-McMoran, Inc., No. 2:15-CV-00577-MV-SMV, 2016

  WL 7494277, at *4 (D.N.M. May 26, 2016)). Therefore, to the extent that Plaintiffs’

  RICO claims are based on more than conduct which violates the FLSA, they are not

  precluded.1 Accordingly, the Court will address whether Plaintiffs have standing to bring

  their RICO claims; i.e., whether Plaintiffs suffered injuries and, if so, whether

  Defendants’ conduct caused the harm.

                2. RICO Standing2

         To prove a RICO violation, a plaintiff must show that the defendant violated the

  RICO statute, and the plaintiff was injured “by reason of” that violation. 18 U.S.C. §§

  1962 and 1964(c). See also Marlow v. Allianz Life Ins. Co. of N. Am.,No.

  08–CV–00752–CMA–MJW, 2009 WL 1328636, at *3 (D. Colo. 2009). Thus, “[a] plaintiff

  has standing to bring a RICO claim only if he was injured in his business or property by

  reason of the defendant’s violation of § 1962.” Deck v. Engineered Laminates, 349 F.3d

  1253, 1257 (10th Cir. 2003). Defendants argue that Plaintiffs have not met either

  standing requirement.


         1
           Defendants appear to concede this point, as they argue that only as “to the
  extent Plaintiffs’ RICO claims stem from alleged violations of the FLSA, the claims are
  precluded by the FLSA and should be dismissed.” (Docket Nos. 20 at 5 & 31 at 3.)
         2
          As Judge Moore explained, RICO standing used be treated as jurisdictional
  under Rule 12(b)(1), but the Tenth Circuit recently “properly characterized” what once
  was called “RICO standing” “as the usual pleading-stage inquiry” which does not
  implicate subject-matter jurisdiction, and therefore is analyzed under Rule 12(b)(6).
  Valverde, Docket No. 193, at 9 (citing Safe Street Alliance v. Hickenlooper, 859 F.3d
  865, 887 (10th Cir. 2017)).

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                       A. Injuries

         Plaintiffs allege that their RICO injuries consist, among other things, of “loss of

  past, current, and prospective wages,” and spending “unpaid time working as opposed

  to pursuing other interests.” (Docket No. 1 ¶¶ 195, 202.) Defendants contend that be

  entitled to these damages, Plaintiffs must first prevail on their various wage claims, and

  until they do, any damages are speculative. Therefore, Defendants claim that Plaintiffs

  failed to allege a “concrete and tangible” injury. Plaintiffs, who characterize this issue as

  one of ripeness, rather than standing, argue that under Defendants’ formulation, no

  RICO claims would ever by ripe in any case where the plaintiff asserts, or could assert,

  a non-RICO claim for damages.

         At the outset, the Court notes there is no heightened pleading standard for RICO

  claims. See Street Alliance v. Hickenlooper, 859 F.3d 865, 885 (10th Cir. 2017).

  Defendants cite Ivar v. Elk River Partners, LLC, 705 F. Supp. 2d 1220 (D. Colo. 2010)

  for the proposition that a RICO injury to business or property must be “concrete and

  tangible.” However, the Tenth Circuit has explicitly rejected requiring a plaintiff to plead

  a “concrete financial loss” to maintain a RICO injury, at least as it concerns an injury to

  property. Safe Street Alliance, 859 F.3d at 888. On the other hand, it rem ains true that

  a RICO plaintiff cannot recover for speculative future injuries under § 1964(c). Id.

         With this in mind, the Court finds that Plaintiffs plausibly alleged that they

  sustained past injuries in the form of unpaid straight time wages. Such claims are not

  speculative–the alleged injuries have already occurred, even if the amount of resulting

  damages has yet to be determined. Defendants argue that they “do not suggest a



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  broad sweeping rule that RICO claims may not be brought in the same action with other

  claims,” but, applying their interpretation of § 1964(c), it is hard to conceive of a

  scenario where a plaintiff would not be required to exhaust all other civil remedies

  against a defendant before bringing a RICO claim. For instance, the plaintiffs in Safe

  Street Alliance brought a RICO action against the operators of a neighboring

  recreational marijuana facility because its noxious emissions interfered with the

  plaintiffs’ use and enjoyment of their property and diminished its value. 859 F.3d at 880-

  81. Under Defendants’ theory, the plaintiffs’ injuries would have remained speculative

  unless and until they brought and prevailed in a nuisance suit against the offending

  marijuana growers. The Tenth Circuit rejected this narrow reading of the RICO statutes,

  stating that “whether the Reillys might have pursued separate nuisance claims is

  irrelevant to whether their § 1964(c) claims are viable.” Id. at 891. Similarly, the Court

  will not require more from Plaintiffs than plausible allegations of injury to their business

  or property. Plaintiffs allege that Defendants’ schemes deprived them of their full

  wages. Thus, their Complaint satisfies RICO’s injury requirement.

                       B. Causation

         Next, Defendants argue that Plaintiffs lack standing to assert their RICO claims

  because they have not established causation. To establish the causation element of a §

  1964(c) claim, “a plaintiff must plausibly plead ‘that the defendant’s violation not only

  was a but for cause of his injury, but was the proximate cause as well[.]’” Street

  Alliance, 859 F.3d at 889 (quoting Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639,

  654 (2008)). The concept of “proximate cause” does not lend itself to “black letter



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  rules”; rather, “[i]t is a way of labeling generically the judicial tools used to limit a

  person’s responsibility for the consequences of that person’s own acts, with a particular

  emphasis on the demand for some direct relation between the injury asserted and the

  injurious conduct alleged.” Id. (quotation marks and citation omitted). “‘When a court

  evaluates a RICO claim for proximate causation, the central question it must ask is

  whether the alleged violation led directly to the plaintiff’s injuries.’” Id. (quoting Anza v.

  Ideal Steel Supply Corp., 547 U.S. 451, 461 (2006)). A plaintiff is not required to plead

  that he or she is a victim of the defendant’s underlying crime to establish a direct injury,

  just that his or her business or property has been directly injured as a result of the

  defendant’s § 1962 violation. Id. (citing Bridge, 553 U.S. at 649-50). However, “a

  plaintiff who complained of harm flowing merely from the misfortunes visited upon a

  third person by the defendant’s acts [is] generally said to stand at too remote a distance

  to recover.” Holmes v. Sec. Inv’r Prot. Corp., 503 U.S. 258, 268–69 (1992).

         Plaintiffs allege that Defendants, through two enterprises (the “Astley Enterprise”

  and the “Xclusive Enterprise”), have engaged in racketeering activities through the

  following four wire fraud schemes. (Docket No. 1 ¶ 135.)

         1.      The “USDOL Scheme” involves Defendants continuing their illegal pay

                 practices after Defendant Astley promised the United States Department

                 of Labor’s Wage and Hour Division’s Denver District Office (the

                 “USDOL”), which had performed investigations in 2012 and 2014, that it

                 would comply with applicable laws. (Id. ¶¶ 137-149.) Defendants used the

                 mail and wires in furtherance of this fraud by “transmitting fraudulent pay



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                 records and checks between Xclusive branches, and Xclusive employees

                 and clients,” and by “continually and repeatedly” making false

                 representations to the USDOL regarding the wage violations. (Id. ¶¶ 144-

                 48.)

          2.     The “Website Scheme” refers to the Astley and Xclusive Enterprises’

                 intentionally false advertisements on Xclusive’s website that Xclusive is

                 compliant with labor laws. (Id. ¶¶ 150-52.) This false representation

                 serves to recruit workers and clients alike, which allows Defendants to

                 maintain the harmful and illegal pay policies. (Id. ¶¶ 153-54.)

          3.     The “Electronic Timekeeping Scheme” is based on Xclusive’s use of

                 online timekeeping platforms to maintain false records regarding

                 employee work hours. (Id. ¶¶ 155-162.) This underreporting gave clients

                 “the false impression that Xclusive’s workers work less time than they

                 actually work,” and allowed Xclusive to either charge clients less or keep

                 money that should have gone to workers. (Id. ¶ 162.)

          4.     Finally, the “Faxed Timesheet Scheme” involved handwritten time sheets

                 typically created by Xclusive supervisors and signed and submitted by the

                 clients via fax. (Id. ¶¶ 163-68.) These time sheets contained the same

                 fraudulent information regarding work hours. (Id. ¶ 166.)

          Defendants argue that even assuming these allegations are true, the schemes

   only relate to misleading the government and Xclusive’s clients, and are insufficient to

   establish that they were the direct cause of Plaintiffs’ lost wages. Defendants state that



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   “the Complaint is devoid of any allegation that any of Xclusive’s clients – or any of the

   Plaintiffs themselves – relied in any way on any fraudulent or misleading statements

   made by any of the Defendants, which is reason enough, by itself, to dismiss Plaintiffs’

   RICO claims.” (Docket No. 20 at 8.) However “a person can be injured ‘by reason of’ a

   pattern of mail fraud even if he has not relied on any misrepresentations.” Bridge, 553

   U.S. at 649. While “[p]roof that the plaintiff relied on the defendant's misrepresentations

   may in some cases be sufficient to establish proximate cause, . . . there is no sound

   reason to conclude that such proof is always necessary.” Id. at 659. “[T]he fact that

   proof of reliance is often used to prove an element of the plaintiff's cause of action,

   such as the element of causation, does not transform reliance into an element of the

   cause of action.” Id. (quoting Anza, 547 U.S. at 478 (Thomas, J., concurring in part and

   dissenting in part)). After all, “[u]sing the mail to execute or attempt to execute a

   scheme to defraud is indictable as mail fraud, and hence a predicate act of racketeering

   under RICO, even if no one relied on any misrepresentation.” Id. at 648. Thus, the fact

   that Plaintiffs do not allege reliance is not fatal to their claims.

          However, although Plaintiffs allege that Defendants used misrepresentations to

   the USDOL and Xclusive’s clients to maintain and attract business while depriving their

   workers of fair wages, their Complaint does not plausibly allege that the

   misrepresentations caused the illegal retention of wages. Indeed, the allegations in the

   Complaint make it clear that the predicate acts allowed Defendants to perpetuate an

   already on-going scheme. For example, regarding the “USDOL Scheme,” the Complaint

   alleges that “[t]he USDOL relied on Ms. Astley’s fraudulent promises regarding the meal



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   deductions in deciding its dispositions, and Plaintiffs and those similarly situated were

   harmed because, as a result of the fraud, Xclusive was able to continue its illegal

   practices.” (Docket No. 1 ¶ 143.) Thus, Plaintiffs summarize that “Xclusive misled

   USDOL so that it could continue violating the law without being held accountable.”

   (Docket No. 25 at 15) (emphasis in original). It is true that had Astley had not promised

   the USDOL that it would abide by the law, and not pointed the finger at her hotel clients,

   the USDOL may have held Xclusive “accountable.” However, not only is this

   necessarily speculative, whatever the form of accountability, it does not necessarily

   mean that Xclusive’s repugnant pay policies, which allegedly occurred both before and

   during the USDOL investigations, would have stopped. In other words, the offending

   behavior was not the lying to the USDOL, it was the act of failing to paying Plaintiffs’

   wages they were entitled to receive. Therefore, while the false statements may have

   allowed Defendants to facilitate or further Plaintiffs’ “original” injury, they were not the

   acts from which this injury directly flowed. See DeSilva v. N. Shore-Long Island Jewish

   Health Sys., Inc., 770 F. Supp. 2d 497, 524 (E.D.N.Y. 2011).

          Similarly, Plaintiffs argue that “Xclusive knew it was violating wage-and-hour

   laws, and yet still told its clients on its website that it took these laws ‘extremely

   seriously,’ that it ‘exceed[s] industry standards to ensure [its clients’] protection],’ and

   claimed ‘[f]ull compliance with overtime laws.’” (Docket No. 25 at 16) (quoting Docket

   No. 1 ¶¶ 151-152) (emphasis in original). Therefore, Plaintiffs conclude that “clients are

   more likely to contract with Xclusive, allowing Xclusive to maintain its illegal pay

   policies, which have harmed Plaintiffs.” (Docket No. 1 ¶ 154) (emphasis added). It is



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   obvious from this language that Plaintiffs were harmed by Xclusive’s pay policies

   already in place, regardless of what information it put on its website. Plaintiffs do not,

   and likely cannot, allege that had the misrepresentations on Xclusive’s website were the

   direct cause of Xclusive’s deducting their 30-minute lunch breaks.

          The “Electronic Timekeeping Scheme” and “Faxed Timesheet Scheme” suffer

   from similar problems. Both allege that Xclusive’s records consistently report 30-minute

   breaks that employees did not take, and this harmed Plaintiffs “by giving clients the

   false impression that Xclusive’s workers work less time than they actually work,” which

   allowed Xclusive “to either (1) charge clients less than it would if it truthfully recorded

   and reported work hours or (2) retain profits that would otherwise flow to employees if it

   truthfully recorded and reported work hours.” However, Plaintiffs injuries do not flow

   from the fact that Xclusive lied to their clients about the hours they worked; they were

   directly harmed because Xclusive did not fully compensate them for their time spent

   working.

          Plaintiffs claim that their Complaint alleges that “Xclusive and Astley sought to

   pay their workers less than legal wages, but to do that they needed to lie to the USDOL

   and lie to their clients,” and that those lies were designed to harm “the intended victims

   of the fraud” – Xclusive’s workers. (Docket No. 25 at 9). As Defendants note, it is

   debatable whether this allegation is actually contained in the Complaint. Even assuming

   it is, as stated above, Plaintiffs do not sufficiently establish that Defendants “needed” to

   lie to clients and the government in order to pay their workers less, given that Xclusive’s

   pay practices existed independent of the alleged predicate acts. Moreover, Plaintiffs

   have not sufficiently alleged that they were actually the “intended victim” of the

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   schemes. For example, Plaintiffs claim that the “Website Scheme” “serves to reassure

   current and potential clients who confront the risk of being held jointly and severally

   liable for Xclusive’s wage-and-hour violations.” (Docket No. 1 ¶ 153.) Thus, it is equally

   likely that Xclusive’s clients were the “intended victim” of the website and timekeeping

   schemes, which serves to further interrupt the causal chain between Defendants’

   misrepresentations and Plaintiffs’ injuries.

          In short, although Plaintiffs allege that Defendants consistently violated wage-

   and-hour laws, and Xclusive’s employees suffered accordingly, the Court finds that this

   happened regardless of the representations Xclusive made on its website, to clients, or

   to the government. “Stated otherwise, defendants’ misrepresentations and omissions

   regarding their failure to fully compensate plaintiffs is not the proximate cause of the

   ultimate harm to plaintiffs, which instead originates in defendants’ underlying failure to

   properly pay plaintiffs for all hours worked.” DeSilva, 770 F. Supp. at 525. W hile the

   alleged misrepresentations may have indirectly led to Xclusive avoiding fines and

   obtaining more business, which may have then increased its profits–including those

   illicitly gained from the alleged wage theft–they can not be considered the proximate

   cause of Plaintiffs’ injuries, as alleged in the Complaint. Accordingly, the Court

   RECOMMENDS that Counts I and II of Plaintiff’s Complaint (Docket No. 1) be

   DISMISSED WITHOUT PREJUDICE.

          b. State Law Claims on Behalf of Those Outside of Colorado

          In Valverde, Judge Moore dismissed without prejudice the plaintiff’s class action

   claims based on laws of states other than Colorado. Docket No. 193 at 15. Here,



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   Plaintiffs respectfully disagree with the Court’s ruling and ask that the standing analysis

   be deferred until after a class is certified. However, Plaintiffs cite to no new authority nor

   offer a new argument in support of their position. Accordingly, to the extent the class

   action claims are based on conduct occurring outside the state of Colorado, the Court

   RECOMMENDS that Counts IV, V, and VIII of Plaintiffs’ Complaint (Docket No. 1) be

   DISMISSED WITHOUT PREJUDICE for lack of standing.

          c. Illegal Deductions

          In Count VII of Plaintiffs’ Complaint, Plaintiffs allege that Defendants’ deductions

   from Plaintiffs’ paychecks were illegal under the Colorado Wage Claim Act, Colo. Rev.

   Stat. §§ 8-4-101 et seq (“CWCA”). Under the CWCA, employers may not make

   deductions from the wages or compensation of an employee except in specific

   circumstances. The exception at issue here permits deductions for “goods or services,

   and equipment or property provided by an employer to an employee pursuant to a

   written agreement between such employer and employee, so long as it is enforceable

   and not in violation of law.” Colo. Rev. Stat. § 8-4-105(1)(b).

          Defendants argue that Plaintiffs fail to state a claim for illegal deductions under

   the CWCA because Plaintiffs do not allege that the deductions were unauthorized,

   noting specifically that Plaintiffs signed contracts permitting the $3 deductions.

   Defendants correctly point out that Plaintiffs allege that “[t]he form contract provided by

   Xclusive to all workers, including Plaintiffs, states that $3 is deducted from every weekly

   paycheck of every Xclusive employee” as an “administrative charge.” (Docket No. 1 ¶

   98.) However, whether that “administrative charge” is for valid “goods or services” is in



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   dispute. Defendants’ blanket statement that the CWCA “permits an employer to make

   deductions from an employee’s pay for goods, services, equipment, and property, as

   long as there is a written agreement between the employer and employee authorizing

   the deductions” elides a critical statutory condition: the agreed-upon deduction must be

   enforceable and not in violation of the law. Defendants argue, without citing any

   authority, that “there is no legal duty to provide employees with a paper check, and

   providing a paper check is a ‘service’ that may be subject to a deduction agreement.”

   As Plaintiffs state, Xclusive has a legal obligation to pay wages by negotiable

   instrument, direct deposit, or pay card. See Colo. Rev. Stat. §§ 8-4-102, 103. Thus,

   characterizing this as a “service” is questionable, and Defendants have not met their

   burden.

            As to other deductions for things like criminal background checks, name tags,

   kitchen uniforms, and kitchen tools (see Docket No. 1 ¶ 100 ), there is no allegation that

   they were authorized by a written contract, and the exception cited above does not

   apply.

            Accordingly, the Court RECOMMENDS that the subject motion (Docket No. 20)

   be DENIED as to Count VII.

            d. Contract and Equity Claims

            Plaintiffs assert a claim for breach of contract or, “in the alternative, if the

   contract fails, for contracts implied in law, including promissory estoppel and unjust

   enrichment.” (Docket No. 1 ¶ 247.) Plaintiffs’ contract claim is preempted to the extent it

   is for unpaid overtime wages or is simply a restatement of their FLSA claim. See



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   Valverde, Docket No. 193, at 19; Barnett v. Pikes Peak Community College Police

   Dept., No. 14-cv-02820-LTB, 2015 WL 4245822, at *5 (D. Colo. July 14, 2015).

   Plaintiffs contract claim with respect to straight time is not preempted.

          In Valverde, the Court permitted the plaintiffs to maintain their claim for unjust

   enrichment to the extent they were based are unpaid straight time. Docket No. 193, at

   23. Defendants argue that the unjust enrichment claim here should be dismissed in its

   entirety. The Court agrees. While Plaintiffs’ claim for unjust enrichment may not be

   entirely preempted by the FLSA, this type of equitable claim “cannot be maintained

   where the parties have reached an agreement between themselves as to the terms

   upon which compensation will be paid, absent an allegation that the agreement is

   invalid or unenforceable[.]” Perez v. Pinon Mgmt., Inc., No. 12-CV-00653-MSK-MEH,

   2013 WL 1149567, at *9 (D. Colo. Mar. 19, 2013). Each Plaintif f alleges that he or she

   entered into employment contracts with Xclusive. (Docket No. 1 ¶¶ 24, 44, 61 and 72.)

   The Complaint does not allege that these contracts were invalid or unenforceable, and

   the fact that Plaintiffs’ breach of contract claim may fail does not allow them to plead

   unjust enrichment in the alternative. See Echostar Satellite, L.L.C. v. Splash Media

   Partners, L.P., No. 07-CV-02611-PAB-BNB, 2010 W L 3873282, at *8 (D. Colo. Sept.

   29, 2010). Therefore, Plaintiffs’ unjust enrichment claims should be dismissed.

          Finally, the Valverde plaintiffs’ claim for promissory estoppel was dismissed with

   prejudice because they failed to allege any reliance on any promise. Docket No. 193, at

   20. The Complaint at issue also fails to identify any promise made by Xclusive, or any

   detrimental reliance on the part of Plaintiffs, and should be dismissed.



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                                   IV. RECOMMENDATION

          It is hereby RECOMMENDED that Defendants Xclusive Staffing, Inc., Xclusive

   Management, LLC d/b/a Xclusive Staffing, Xclusive Staffing of Colorado, LLC, Diane

   Astley, and Westin DIA Operator, LLC’s Motion Pursuant to Fed. R. Civ. P. 12(b)(1) and

   12(b)(6) for Partial Dismissal of Plaintiffs' Class and Collective Action Complaint

   (Docket No. 20) be GRANTED in part and DENIED part as follows:

          •      COUNT I:

                 •      GRANTED and the claim be dismissed without prejudice;

          •      COUNT II:

                 •      GRANTED and the claim be dismissed without prejudice;

          •      COUNT IV:

                 •      GRANTED to the extent the class action claims are based on

                        conduct occurring outside of Colorado, and the claim be dismissed

                        without prejudice on this basis;

                 •      DENIED as to the remaining allegations;

          •      COUNT V:

                 •      GRANTED to the extent the class action claims are based on

                        conduct occurring outside of Colorado, and the claim be dismissed

                        without prejudice on this basis;

                 •      DENIED as to the remaining allegations;

          •      COUNT VII:

                 •      DENIED;


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         •      COUNT VIII:

                •     GRANTED to the extent the class action claims are based on

                      conduct occurring outside of Colorado, and the claim be dismissed

                      without prejudice on this basis;

                •     GRANTED as to Plaintiffs’ breach implied contract to the extent it

                      are based on unpaid overtime, and the claim be dismissed with

                      prejudice;

                •     GRANTED as to Plaintiffs’ unjust enrichment claim, and the claim

                      be dismissed with prejudice;

                •     DENIED as to Plaintiffs’ breach of contract and breach of implied

                      contract claims to the extent they are based on unpaid straight

                      time; and

                •     GRANTED as to Plaintiffs’ claim based on promissory estoppel,

                      and the claim be dismissed with prejudice.

         NOTICE: Pursuant to 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b)(2),

   the parties have fourteen (14) days after service of this recommendation to serve

   and file specific written objections to the above recommendation with the District

   Judge assigned to the case. A party may respond to another party’s objections

   within fourteen (14) days after being served with a copy. The District Judge need

   not consider frivolous, conclusive, or general objections. A party’s failure to file

   and serve such written, specific objections waives de novo review of the

   recommendation by the District Judge, Thomas v. Arn, 474 U.S. 140, 148-53


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   (1985), and also waives appellate review of both factual and legal questions,

   Makin v. Colo. Dep’t of Corr., 183 F.3d 1205, 1210 (10th Cir. 1999); Talley v. Hesse,

   91 F.3d 1411, 1412-13 (10th Cir. 1996).


   Dated:       May 16, 2018                      /s/ Michael J. Watanabe
                Denver, Colorado                  Michael J. Watanabe
                                                  United States Magistrate Judge




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